8:05-cr-00131-LSC-TDT        Doc # 221     Filed: 04/13/06    Page 1 of 5 - Page ID # 758




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                  8:05CR131
                                             )
       vs.                                   )                    ORDER
                                             )
PABLO REZA LANDIN,                           )
                                             )
                     Defendant.              )


       This matter is before the court on the defendant’s Motion for Severance of
Prejudicial Joinder (Filing No. 210) and Motion to Continue Trial and for Oral Argument
(Filing No. 215). The defendant filed briefs (Filing No. 211 and 216) in support of each of
the motions. The government filed a brief (Filing No. 219) in opposition to the defendant’s
motions. The court finds oral argument is not necessary on these motions. See NECrimR
12.3(d)(1).
       The defendant is charged in the indictment with five other defendants for conspiracy
to distribute 500 grams or more of a substance containing methamphetamine, in violation
of 21 U.S.C. § 846. Three of co-defendants, Jesus Padilla, Benjamin Sukup, and Mollie
Moler have plead guilty. The remaining defendants Pablo Reza Landin, Raul Jimenez and
Scott Freese (Freese) are scheduled for trial to commence on April 24, 2006.


                                         ANALYSIS
       The defendant seeks to sever his trial from the trial of his co-defendants and to
continue his trial. The defendant contends that he will be prejudiced when the jury learns
the combined information that a co-defendant is an attorney and one of his own trial
counsel is the subject of a recently publicized criminal investigation.
       When joinder is proper under the Federal Rules of Criminal Procedure, the court
retains the discretion to sever defendants for purposes of trial under Rule 14. See United
8:05-cr-00131-LSC-TDT             Doc # 221       Filed: 04/13/06      Page 2 of 5 - Page ID # 759




States v. Ruiz, 412 F.3d 871, 886 (8th Cir. 2005).1 Rule 14 of the Federal Rules of
Criminal Procedure provides in part:
                 If the joinder of offenses or defendants in an indictment, an
                 information, or a consolidation for trial appears to prejudice a
                 defendant or the government, the court may order separate
                 trials of counts, sever the defendants’ trials, or provide any
                 other relief that justice requires.
Fed. R. Civ. P. 14(a).
       There is a preference in the federal system for joint trials of defendants who are
indicted together. Zafiro v. United States, 506 U.S. 534, 537 (1993); United States v.
Noe, 411 F.3d 878, 886-87 (8th Cir. 2005); Flores, 362 F.3d at 1039. Joint trials play a
vital role in the criminal justice system. Zafiro, 506 U.S. at 537. They promote efficiency
and “serve the interests of justice by avoiding the scandal and inequity of inconsistent
verdicts.” Richardson v. Marsh, 481 U.S. 200, 209-10 (1987). The Eighth Circuit has held
“it is rarely improper for co-conspirators to be tried together.” United States v. Evans, 285
F.3d 664, 670 (8th Cir. 2002); see Noe, 411 F.3d at 886-87. However, Fed. R. Crim. P.
14 reflects the recognition that joinder, even when proper under Rule 8(b), may prejudice
a defendant. Consequently, if it appears a defendant may be prejudiced by a joinder either
of the defendants or the counts for trial together, the court may order an election or
separate trials of counts, grant a severance of defendants or provide whatever other relief
justice requires. The Zafiro Court concluded:
                 [W]hen defendants properly have been joined under Rule 8(b),
                 a district court should grant a severance under Rule 14 only if
                 there is a serious risk that a joint trial would compromise a
                 specific trial right of one of the defendants, or prevent the jury
                 from making a reliable judgment about guilt or innocence.
                 Such a risk might occur when evidence that the jury should not
                 consider against a defendant and that would not be admissible
                 if a defendant were tried alone is admitted against a
                 codefendant. For example, evidence of a codefendant’s
                 wrongdoing in some circumstances erroneously could lead a
                 jury to conclude that a defendant was guilty. When many
                 defendants are tried together in a complex case and they have


       1
           The defendant does not challenge joinder under Fed. R. Crim. P. 8.

                                                    2
8:05-cr-00131-LSC-TDT           Doc # 221       Filed: 04/13/06     Page 3 of 5 - Page ID # 760




               markedly different degrees of culpability, this risk of prejudice
               is heightened. . . . Evidence that is probative of a defendant’s
               guilt but technically admissible only against a codefendant also
               might present a risk of prejudice. See Bruton v. United
               States, 391 U.S. 123 (1968). Conversely, a defendant might
               suffer prejudice if essential exculpatory evidence that would be
               available to a defendant tried alone were unavailable in a joint
               trial. . . . The risk of prejudice will vary with the facts in each
               case. . . . When the risk of prejudice is high, a district court is
               more likely to determine that separate trials are necessary, but,
               as we indicated in Richardson v. Marsh, less drastic
               measures, such as limiting instructions, often will suffice to
               cure any risk of prejudice. See 481 U.S. at 211.
Zafiro, 506 U.S. at 539; see also United States v. Pou, 953 F.2d 363, 368 (8th Cir. 1992).
“Severance is not required simply because the evidence may have been more damaging
against one [defendant] than the others. . . Severance does, however, become necessary
where the proof is such that a jury could not be expected to compartmentalize the evidence
as it relates to separate defendants.” Noe, 411 F.3d at 886 (internal quotations and
citations omitted).
       The defendant alleges that he will suffer prejudice if his trial is not severed from co-
defendant Scott Freese.2 Mr. Freese is an attorney who, it is alleged, conspired with others
to distribute methamphetamine. Additionally, the defendant states one of his two attorneys,
Shaun Downey, is currently the subject of a criminal investigation for sexual assault of a
child, unrelated to the charges against the defendant. The defendant contends the fact of
the investigation against Mr. Downey is likely to come up during voir dire. Accordingly, the
defendant contends his association with two allegedly criminal attorneys will taint him in the
eyes of a jury, that is a verdict against the defendant would likely be a judgment of guilt
against Mr. Freese or Mr. Downey, or both.
       The defendant’s motion is based on juror confusion. A defendant may show
prejudice requiring severance where “the jury will be unable to compartmentalize the
evidence as it relates to separate defendants.” United States v. Abfalter, 340 F.3d 646,
652 (8th Cir. 2003) (citation omitted).               In consideration of the jury’s ability to

       2
         The court notes a motion to sever filed by Mr. Freese was denied by this court on November 9,
2005. See Filing No. 117.

                                                  3
8:05-cr-00131-LSC-TDT        Doc # 221      Filed: 04/13/06    Page 4 of 5 - Page ID # 761




compartmentalize the evidence against the joint defendants, the court considers the
complexity of the case. Pherigo, 327 F.3d at 693. It is not necessary to sever the
defendants “when evidence which is admissible only against some defendants may be
damaging to others or when there is varying strength in the evidence against each
defendant.” United States v. Lee, 374 F.3d 637, 646 (8th Cir. 2004) (internal citations
omitted). The same principles would apply to the statements during voir dire, if any, about
the defendant’s trial counsel.
       The defendant does not contend this case is unusually complex or that the evidence
would make the facts difficult to compartmentalize. The defendant instead contends that
he will be prejudiced by the mere fact of the occupation of a co-defendant and a criminal
investigation against his own trial counsel.      The defendant fails to show how such
information would be prejudicial to the defendant. Further, the court finds that a cautionary
instruction informing the jury to give separate consideration to the evidence about each
individual defendant, or rather not to consider trial counsel’s criminal investigation against
the defendant, should be sufficient in this case. See United States v. Ghant, 339 F.3d
660, 666 (8th Cir. 2003); see also Zafiro, 506 U.S. at 539. Despite the different facts
affecting the involvement on the part of each of the defendants in this case, the occupation
of Freese and the current investigation against Mr. Downey, the court believes that the jury
will be able to compartmentalize the relevant evidence against each of the defendants.
See United States v. Kuenstler, 325 F.3d 1015, 1024 (8th Cir. 2003). Therefore, the
court concludes the motion to sever should be denied based on the defendant’s failure to
show prejudice due to juror confusion. Because the motion to sever is denied and for the
reason stated above, it is unnecessary to continue the defendant’s trial.               Upon
consideration,


       IT IS ORDERED:
       1.     The defendant’s Motion for Severance of Prejudicial Joinder (Filing No. 210)
is denied.
       2.     The defendant’s Motion to Continue Trial and for Oral Argument (Filing No.
215) is denied.

                                              4
8:05-cr-00131-LSC-TDT          Doc # 221      Filed: 04/13/06     Page 5 of 5 - Page ID # 762




                                        ADMONITION
       Pursuant to NECivR 72.2 any appeal of this Order shall be filed with the Clerk of the
Court within ten (10) days after being served with a copy of this Order. Failure to timely
appeal may constitute a waiver of any objection to the Order. The brief in support of any
appeal shall be filed at the time of filing such appeal. Failure to file a brief in support of any
appeal may be deemed an abandonment of the appeal.
       DATED this 13th day of April, 2006.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




                                                5
